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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                   AT OWENSBORO

                                 (FILED ELECTRONICALLY)


CIVIL ACTION NO. ________________________
                  4:18-CV-138-JHM

UNITED STATES OF AMERICA                                                         PLAINTIFF

vs.

TINA M. JONES                                                                 DEFENDANTS
1456 Tucker Schoolhouse Road
Madisonville, KY 42431

TROVER CLINIC
SERVE: Logan, Morton & Ratliff
P. O. Box 429
Madisonville, KY 42431

ASSET ACCEPTANCE, LLC
SERVE: Lloyd & McDaniel, PLC
P. O. Box 23200
Louisville, KY 40223-0200
And
SERVE: Corporation Service Company
421 West Main Street
Frankfort, KY 40601

COMMONWEALTH OF KENTUCKY
c/o Attorney General
700 Capitol Avenue, Suite 118
Frankfort, KY 40601-3449


                            COMPLAINT FOR FORECLOSURE

       Plaintiff, the United States of America, states as follows:

       1.     This is a mortgage foreclosure action brought by the United States of America on

behalf of its agency, the United States Department of Agriculture Rural Housing Service also

known as Rural Development (hereinafter collectively “RHS”).
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       2.      Jurisdiction arises under 28 U.S.C. § 1345. Venue is proper in this judicial

division, where the subject property is located.

       3.      RHS is the holder of a promissory note (“the Note”) executed for value on May

29, 2003 by Defendant Tina M. Jones (“the Borrower”). The principal amount of the Note was

$84,226.00, bearing interest at the rate of 6.000 percent per annum, and payable in monthly

installments as specified in the Note. A copy of the Note is attached as Exhibit A and

incorporated by reference as if set forth fully herein.

       4.      The Note is secured by a Real Estate Mortgage (the “Mortgage”) recorded on

May 29, 2003, in Mortgage Book 719, Page 414, in the Office of the Clerk of Hopkins County,

Kentucky. Through the Mortgage, the Borrower, unmarried, granted RHS a first mortgage lien

against the real property including all improvements, fixtures and appurtenances thereto at 1456

Tucker Schoolhouse Road, Madisonville, Hopkins County, Kentucky (the “Property”) and

described in more detail in the Mortgage. A copy of the Mortgage is attached as Exhibit B and

incorporated by reference as if set forth fully herein.

       5.      To receive subsidies on the loan, the Borrower signed a Subsidy Repayment

Agreement authorizing RHS to recapture, upon transfer of title or non-occupancy of the

Property, any subsidies granted to the Borrower by RHS. A copy of the Subsidy Repayment

Agreement is attached as Exhibit C and incorporated by reference as if set forth fully herein.

       6.      The Borrower has defaulted on the Note and Mortgage by failing to make

payments when due.

       7.      RHS has, in accordance with the loan documents, accelerated the loan and

declared the entire principal balance, together with all accrued and unpaid interest and all other

sums due under the loan documents, to be due and payable. Further, RHS sent notice to the

Borrower of the default and acceleration of the loan.
                                                   2
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       8.      In accordance with the loan documents, the United States is entitled to enforce the

Mortgage through this foreclosure action and to have the Property sold to pay all amounts due,

together with the costs and expenses of this action.

       9.      The unpaid principal balance on the Note is $92,418.25 with accrued interest of

$6,289.48 through November 15, 2016 with a total subsidy granted of $26,667.60, escrow

charges of $927.25, late charges in the amount of $78.12, and fees assessed of $1,908.76, for a

total unpaid balance of $128,289.46 as of November 15, 2016. Interest is accruing on the unpaid

principal balance at the rate of $15.4987 per day after November 15, 2016.

       10.     The Property is indivisible and cannot be divided without materially impairing its

value and the value of RHS's lien thereon.

       11.     The Mortgage granted to RHS by the Borrower is a purchase money mortgage.

The United States is unaware if the Borrower has a spouse, but even if such spouse existed,

pursuant to KRS 392.040(1), any surviving spouse shall not have a spousal interest in land sold

in good faith after marriage to satisfy an encumbrance created before marriage or to satisfy a lien

for the purchase money.

       12.     Defendant Trover Clinic may claim an interest in the Property by virtue of a

Notice of Judgment Lien recorded on May 2, 2007 in Encumbrance Book 66, Page 270 in the

Hopkins County Clerk's Office, a copy of which is attached as Exhibit D. The interest of this

Defendant is inferior in rank and subordinate in priority to the first mortgage lien on the Property

in favor of RHS, and the Plaintiff calls upon this Defendant to come forth and assert its interest

in or claim upon the Property, if any, and offer proof thereof, or be forever barred.

       13.     Defendant Asset Acceptance, LLC may claim an interest in the Property by virtue

of a Notice of Judgment Lien recorded on October 15, 2012 in Encumbrance Book 99, Page 59

in the Hopkins County Clerk's Office, a copy of which is attached as Exhibit E. The interest of
                                                 3
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this Defendant is inferior in rank and subordinate in priority to the first mortgage lien on the

Property in favor of RHS, and the Plaintiff calls upon this Defendant to come forth and assert its

interest in or claim upon the Property, if any, and offer proof thereof, or be forever barred.

       14.       Defendant Commonwealth of Kentucky, Department of Revenue may claim an

interest in the Property by virtue of a Notice of Lien recorded on February 24, 2017 in

Encumbrance Book 111, Page 432 in the Hopkins County Clerk's Office, a copy of which is

attached as Exhibit F. The interest of this Defendant is inferior in rank and subordinate in

priority to the first mortgage lien on the Property in favor of RHS, and the Plaintiff calls upon

this Defendant to come forth and assert its interest in or claim upon the Property, if any, and

offer proof thereof, or be forever barred.

       15.       There are no other persons or entities purporting to have an interest in the

Property known to the Plaintiff.

       WHEREFORE, Plaintiff, the United States of America, on behalf of RHS, demands:

       a.        Judgment against the interests of the Borrower in the Property in the principal

amount of $92,418.25, plus $6,289.48 interest as of November 15, 2016, and $26,667.60 for

reimbursement of interest credits, escrow charges of $927.25, late charges in the amount of

$78.12, and fees assessed of $1,908.76, for a total unpaid balance due of $128,289.46 as of

November 15, 2016, with interest accruing at the daily rate of $15.4987 from November 15,

2016, until the date of entry of judgment, and interest thereafter according to law, plus any

additional costs, disbursements and expenses advanced by the United States;

       b.        That the United States be adjudged a lien on the Property, prior and superior to

any and all other liens, claims, interests and demands, except liens for unpaid real estate ad

valorem taxes;


                                                   4
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        c.        That the United States' lien be enforced and the Property be sold in accordance

with Title 28 U.S.C. §§ 2001-2003 subject to easements, restrictions and stipulations of record,

but free and clear of all other liens and encumbrances except liens for any unpaid ad valorem real

property taxes;

        d.        That the proceeds from the sale be applied first to the costs of this action, second

to any ad valorem real property taxes, if any, third to the satisfaction of the debt, interest, costs

and fees due the United States, with the balance remaining to be distributed to the parties as their

liens or interests may appear;

        e.        That the Property be adjudged indivisible and be sold as a whole; and

        f.        That the United States receive any and all other lawful relief to which it may be

entitled.


                                                 UNITED STATES OF AMERICA

                                                 RUSSELL M. COLEMAN
                                                 United States Attorney


                                                 s/ William F. Campbell
                                                 William F. Campbell
                                                 Katherine A. Bell
                                                 Assistant United States Attorneys
                                                 717 West Broadway
                                                 Louisville, Kentucky 40202
                                                 Phone: 502/582-5911
                                                 Fax: 502/625-7110
                                                 bill.campbell@usdoj.gov




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OJS 44 (Rev. 11/04)                                                          CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

I. (a)      PLAINTIFFS                                                                                       DEFENDANTS
            UNITED STATES OF AMERICA                                                                            TINA M. JONES, ET AL.

    (b) County of Residence of First Listed Plaintiff                                                        County of Residence of First Listed Defendant             HOPKINS
                               (EXCEPT IN U.S. PLAINTIFF CASES)                                                                           (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                     NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
                                                                                                                            LAND INVOLVED.

    (c) Attorney’s (Firm Name, Address, and Telephone Number)                                                 Attorneys (If Known)




II. BASIS OF JURISDICTION                           (Place an “X” in One Box Only)                III. CITIZENSHIP OF PRINCIPAL PARTIES(Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                     and One Box for Defendant)
✔1
’        U.S. Government                 ’ 3 Federal Question                                                                       PTF     DEF                                         PTF      DEF
           Plaintiff                              (U.S. Government Not a Party)                      Citizen of This State          ’ 1     ’ 1     Incorporated or Principal Place      ’ 4 ’4
                                                                                                                                                    of Business In This State

’2       U.S. Government                 ’ 4 Diversity                                               Citizen of Another State      ’ 2       ’ 2    Incorporated and Principal Place     ’ 5      ’ 5
           Defendant                                                                                                                                   of Business In Another State
                                                  (Indicate Citizenship of Parties in Item III)
                                                                                                     Citizen or Subject of a       ’ 3       ’ 3    Foreign Nation                       ’ 6      ’ 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT                   (Place an “X” in One Box Only)
          CONTRACT                                           TORTS                                   FORFEITURE/PENALTY                       BANKRUPTCY                      OTHER STATUTES
’   110 Insurance                        PERSONAL INJURY                  PERSONAL INJURY            ’ 610 Agriculture                ’ 422 Appeal 28 USC 158          ’   400 State Reapportionment
’   120 Marine                       ’    310 Airplane                 ’ 362 Personal Injury -       ’ 620 Other Food & Drug          ’ 423 Withdrawal                 ’   410 Antitrust
’   130 Miller Act                   ’    315 Airplane Product              Med. Malpractice         ’ 625 Drug Related Seizure              28 USC 157                ’   430 Banks and Banking
’   140 Negotiable Instrument                Liability                 ’ 365 Personal Injury -              of Property 21 USC 881                                     ’   450 Commerce
’   150 Recovery of Overpayment      ’    320 Assault, Libel &              Product Liability        ’   630 Liquor Laws                   PROPERTY RIGHTS             ’   460 Deportation
       & Enforcement of Judgment             Slander                   ’ 368 Asbestos Personal       ’   640 R.R. & Truck             ’ 820 Copyrights                 ’   470 Racketeer Influenced and
’   151 Medicare Act                 ’    330 Federal Employers’            Injury Product           ’   650 Airline Regs.            ’ 830 Patent                            Corrupt Organizations
’   152 Recovery of Defaulted                Liability                      Liability                ’   660 Occupational             ’ 840 Trademark                  ’   480 Consumer Credit
       Student Loans                 ’    340 Marine                    PERSONAL PROPERTY                   Safety/Health                                              ’   490 Cable/Sat TV
       (Excl. Veterans)              ’    345 Marine Product           ’ 370 Other Fraud             ’   690 Other                                                     ’   810 Selective Service
’   153 Recovery of Overpayment              Liability                 ’ 371 Truth in Lending                    LABOR                  SOCIAL SECURITY                ’   850 Securities/Commodities/
        of Veteran’s Benefits        ’    350 Motor Vehicle            ’ 380 Other Personal          ’   710 Fair Labor Standards     ’ 861 HIA (1395ff)                      Exchange
’   160 Stockholders’ Suits          ’    355 Motor Vehicle                 Property Damage                 Act                       ’ 862 Black Lung (923)           ’   875 Customer Challenge
’   190 Other Contract                       Product Liability         ’ 385 Property Damage         ’   720 Labor/Mgmt. Relations    ’ 863 DIWC/DIWW (405(g))                12 USC 3410
’   195 Contract Product Liability   ’    360 Other Personal                Product Liability        ’   730 Labor/Mgmt.Reporting     ’ 864 SSID Title XVI             ’   890 Other Statutory Actions
’   196 Franchise                            Injury                                                         & Disclosure Act          ’ 865 RSI (405(g))               ’   891 Agricultural Acts
      REAL PROPERTY                        CIVIL RIGHTS                 PRISONER PETITIONS           ’   740 Railway Labor Act          FEDERAL TAX SUITS              ’   892 Economic Stabilization Act
’   210 Land Condemnation            ’    441 Voting                   ’ 510 Motions to Vacate       ’   790 Other Labor Litigation   ’ 870 Taxes (U.S. Plaintiff      ’   893 Environmental Matters
✔
’   220 Foreclosure                  ’    442 Employment                      Sentence               ’   791 Empl. Ret. Inc.               or Defendant)               ’   894 Energy Allocation Act
’   230 Rent Lease & Ejectment       ’    443 Housing/                     Habeas Corpus:                   Security Act              ’ 871 IRS—Third Party            ’   895 Freedom of Information
’   240 Torts to Land                        Accommodations            ’   530 General                                                     26 USC 7609                        Act
’   245 Tort Product Liability       ’    444 Welfare                  ’   535 Death Penalty                                                                           ’   900Appeal of Fee Determination
’   290 All Other Real Property      ’    445 Amer. w/Disabilities -   ’   540 Mandamus & Other                                                                               Under Equal Access
                                             Employment                ’   550 Civil Rights                                                                                   to Justice
                                     ’    446 Amer. w/Disabilities -   ’   555 Prison Condition                                                                        ’   950 Constitutionality of
                                             Other                                                                                                                            State Statutes
                                     ’    440 Other Civil Rights

V. ORIGIN                   (Place an “X” in One Box Only)                                                                                                                             Appeal to District
✔1
’        Original        ’ 2    Removed from          ’ 3 Remanded from             ’ 4 Reinstated or ’ 5 Transferred          from
                                                                                                                  another district    ’ 6 Multidistrict                      ’ 7       Judge from
                                                                                                                                                                                       Magistrate
         Proceeding             State Court                    Appellate Court              Reopened              (specify)                  Litigation                                Judgment
                                        Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                            28 U.S.C. SECTION 1345
VI. CAUSE OF ACTION                         Brief description of cause:
                                            RURAL HOUSING SERVICE (RHS) f/k/a FARMERS HOME ADMINISTRATION (FmHA) FEDERAL FORECLOSURE
VII. REQUESTED IN                           ’    CHECK IF THIS IS A CLASS ACTION                         DEMAND $                                 CHECK YES only if demanded in complaint:
     COMPLAINT:                                  UNDER F.R.C.P. 23                                       $128,289.46                              JURY DEMAND:         ’ Yes     ’✔No
VIII. RELATED CASE(S)
                                               (See instructions):
      IF ANY                                                           JUDGE                                                               DOCKET NUMBER

DATE                                                                       SIGNATURE OF ATTORNEY OF RECORD

8/27/2018                                                                    s/ William F. Campbell
FOR OFFICE USE ONLY

    RECEIPT #                    AMOUNT                                      APPLYING IFP                                  JUDGE                           MAG. JUDGE
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      USDA.RHS,
      Form FmHA ,940.16
      {Rev. l0-90)




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                                                               Sptc! Abovr Thu La$ For i,tordrng Ortl)
         Form RD 1550-14 KY                                                                                                Form Approved
         (r   l-96)                                                                                                        OMB No.0575-01?2
                                                       United States Department of Agriculture
                                                               Rural Housing Service

                                        MORTGAGE FOR KENTUCKY
         THIS MORTGAGE ("sccurity Instrumenl") is made on !'Iay 29, 2003
         The mortgagor is fIIiIA U. ,rf,NES, SIIIGI,E
                                                                                                                              ("Bororver").
         This $ecurity Instrument is given to the Unilcd Siatcr olAnrerica acling lltrsugh thi, Rural l{ousing Sr:rvics or sucec$sor ry,encyr
         Unitsd $tates Departmcnt ofAgrlcuhurc ('Lcrdr:ru), rvhsse address ir lturul Housing Servico, c/o Csntralized $erviciog Centcr,
         Unitsd States Oepcrtficnt of Agriculture, P.Ct. Box 66*89. Sl. L6xis, Missouri 63166.

         Bonsrvcr is indebted lo Lcnder undcr thc follorving promissory notes and/or ussumption agreemsnts (hcrein collectively callcd
         "Notc") rvhich havc becn exccutcd or as$rrned by Borrorver and rvhich provide for monthty pn),ments, rvith the full dcbt" ifnot
  ,lol   paid cadi*r, duc ond pryable on the nt*turity datr:

                                                               Prinqi0slAmount
                                                              $84,226.OO

 $p      TlrisSecuritylnstruments€curestoLender: (a)thcrepsymentofthedebtevidencedbytheNote,withintercst,andallrenervals.
         cxrcnsions und modificrtions of the Notcl (b) thc payment ol slt othcr sums, rvith intcrcst, ndvanced under paragraph ? to protect
         thr propcny covrrsd by this Security ln$lrumenq (c) the perlormance of Bonorvc/s covsnants and agreemcnts urder lhis
  c,     Scrurity lngrumcnt artd lhc NotB, 0nd (d) lhc r.:enpturc of any payment ossistance and subsidy rvhich may be granted to the
  2      Borrorver by the Lendcr pursuan! to 42 U.S.C. $|i la72(d or li[904, For lhis purpose, Borrorver does hereby mortgage, granl,
  a
  I
  o
  UJ
         and convey to Lender thc follorving describcd propcrly located in lhe County
          lrd<ts                                          , Stotc ofKcntucky
                                                                                                    of


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         rvhich has the address ep   1456 frrcker          Sdrolho:se                    Road                                tthdisonville
                                                               IStrcct]                                                   lcityl
         Kentucky         42431          lztpl                 ("Property Address");

              TCICETHER WITH all the irnprovements nolv or hereflner erfcted on the ploperty, and all ealements,
         arlpunenances, and fixtures which now or lrereafter are a part of the propcny. All rcp-lacemenl.s and additions shall
         aido Ue covered by this Security lnstrulnent. All of the foregoing is reflerred to in tlris Security lnstrument as the
         "Property. "

                 BORROWER COVENANTS thal Borrower is lawfully scised of the estate hereby convcycd and has the right
         to gra$i and convey the Property and that the Property is unsncumbered, exccpt fbr                                eRcurnbrances          of   record.

         F;ntc;cwiilgfiiii for       rhit collsctian of itdornrtlon   k   cs(inatad to   (vcriSt ]5 ntute:t per reqtonsc, inclnditrg the   lime   lor revieving


         retlucing thi.r burdan, to tlr IJ.S. Dep..rhtknl t{igricutnre, Cleurance aficu, STOP-7602, llnn hdeptndence Avc , Sll', lltathinglon' D.C.
         2A15$7602. PteauDONO'lRETURNlhi:tlorutothisallrass, l;ortrutt'dtothclocal USD4qfJicaon!|t. Youdn:no!requlrtdtoretpondto
          thl:; collection oI hfourration unlcss it tlisplay.t a aurtttlly rrulid Oivl\ nwnhe r
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                                                                                                                   (z-
                                                                                                                    / /.)
       Borrower warrants and will defend general[y the title to the Property against al] claims and demands, subject to any
       encumbrances of record.

           THIS SECURITY INSTRUMENT combines uniform covenarts for national use and non-uniform covenants
       with limited variations by jurisdiction to consritute a uniform security instrument covering rcal property..

               LINIFORM covENANTS. Bonorver and Lender covenant and agree as follows:

        . l. Pa.yment of Principal and lnlerest; P-reptyment ond Late Charges. Bsrrower shall promptly pay when
       {ue-$e principal of and interest on the debt evidcnced by the Note and an/prepayment and tatd ctrnrlei iui under
       the Note.
           2. Irundr for Taxes and tnsura.nce, Subject to applicable law or to a wrirten waivcr by Lendel Borrower
       9!ptl    to Lender on the day monthly paymenls are due under the Nore, unril rhe Note is'paid in frll, a srm
               qay-
      ("Funds") for: (a) yearly taxes and assessntents rvhich may attain priority over this Security lnstitment as o'lien on
      the Property; (b.) yearly leasehold payrnents or ground renls on tlie Proierty, if any; (c) {early hazard or property
      insurance premiums; and (d) yearly flood insuiance premiums, if any,' These ite'nis'arri calltd',Escrow'lterirs.'i
      Lender may, at any time, collect and hold Funds in an arnount not to exceed the maximum amount a lender for a
      fedcrally related mortgage loan may require for Bonorvet's escrow account under the federal ReaI Estate Settlement
      ProceduresAct of 1974 as amended from time to time, l2 U.S,C. $2601 et seq. ("RESPA"), unless another law or
      federal.regulation that applies tothe Funds sets a lesser amount. If so, Lendei may, at any'time, cotlect and hold
      Funds in an amount not to exceed the lesser amount, Lender may estimare the amoiirt of Firnds due on the basis of
      cunent data and reasonable estimates of expenditures of future Escrow [tems or otherwise in accordance with
      applicable law,
            Tlre Funds shall be held by a federal agency (including Lender) or in an institution whose deposits arc insurrd
      by a federal Egency, instrumentality, or entity. Lender shall apply the Funds ro poy the Escrow ltdms. Lender nray
      not charge Borower for holding and applying the Funds, annually anallzing t[re-escrow &ccount, or veri&ing rhi
      Escrorv ltems, unless Lender pays Borower interest on the Funds and applicable law permits l,eodcr to make silch a
                                                                      I
      chargc. However, Lender may require Borrorver to pay one-tims chaBe for an independent nal csule l*.1
      reporting service_used by Lender in connection with this loan, unless applicable law provides othenvise. Unless an
      ogreement is madc or applicable law requires ittteresl to be paid, Lendii shall not be'required to pay Borrorver any
      intercst or earnings on lhe Funds. Borrower and Lender may agrec in writing, horvevei that intirest shall be paii
      on the Funds. Lender shall. give to Bonower, without charge, an annual accounting of the Funds, shorving crddits
      and debits to the Funds and the purpqsg for wfiich each debit to the Funds was mide. The Funds are plidgecl as
      additional security for nll rmns serured by this S*curity lnsmrment.
      .     lf the Funds held by Lender exceed the amounts permitted lo be held by applicable law, Lender shall account to
      Borrower for the excess funds in accordance with the requirenrents of applicable law, If the amount of the Funds
      held by Lender at any time is not sufficient to pay the Escrow ltems tvh-eir due, Lender may so notifo Borrower in
      wr iting, and, in such
                             -case
                                   Bonower shall pay to Lender the amount necessary to make up the dcficiency. Borrower
      slrall make up the deficiency in no ntore than twelve monthly payments, at Lenderrs sole iliscretion.
            Upon payment in full of all sunrs secured by this Security tnstrurucnt, Lender shall promprly refund to
      BorrorveranyFundslreldbyLendcr. llLendershall acquireorsell thePropertyafleraccelerationurrdirparagraph
      2?, Lender, prior to the acquisition or sale of th€ Property, shall upply any Funds hckl by Lender ar ttie tifre'of
      acquisition or sale as a credit against lhe sums secured by this Security lnstrument.
            3. Application of Paymenls. Unless applicable law or Lcnde/s regulations provide othenvise, all paymcnrs
      received by Lender under paragraphs I and 2 shall be applied in the following ordei ofpriority: (l) to adv-anccs flor
      the preservarion or protection of the Property or enflorcentent of this lien; (2) t,o occrued interest duc under the Note;
      (3) to principal du-e under the Note; (4) to anrounts reqrired for the escrow items under paragraph 2; (5) to late
      charges and other fees and charges,
            4. Chnrges; [Jcns. Bonorver shall pay oll tuxcs, lssessrnenB. charges, fines and impositions anributable to the
      Pmperty which may attnin priority over this Security lnslrumcrrt, and leasehold psymcnts or ground rents, if any.
      Borrowershall pay_these.obligutions in the mitrnerprovidcd in paragraph 2, or if'rrotpaid in thatmarner, Bonow{rr
      shall pny them on time directly to the p€rson orved payment. Borro*er shall promptly fumish to Lerrder all notices
      of nrlounts to be paid undcr this pnragraph. lf Bonower nrakes tlrese payrnents d-irectly, Bonower shall promptly
      flurnish to Lender receipts evidencing the payments.
            Borrorvershall promptly dischargcany lien which has priority overthis Security lnstrumentunless Lender has
      agreed in writing to such lien or Bonower; (a) agrees in writing to the payment of the obligation secured by the lien
      in a manneracceptatlle to Lenden (b) conlesls in good lhith the lien by, or defends againsr enforcemenr ofthe lien
      in, legal proceedings which in the Lender's opinion operate to prevent the enforcemEnt of the lien; or {c) recures
      liomtheholderoftheliennnngrecmentsatisf0ctorytolcndersubordinatingthe lientothisSecuriylnst(ument, lf
      Lcnder delermines that any pgrl of the Property is subject to a lien rvhicli may attain priority over this Security
      Instrument, Lender may give Bonolver         notice identifying the lien. Borrowr
                                      Borrower a nstics                         Borrower shall satisfy the lien or take one or
      more ol the actions se   forrh above rvithin
                          selI fonh        rvithin tcn                   givi of notice.
                                                   ten ( l0) days of thc giving


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      .Lender,
                     7e
           Borrower shall pay to Lender such fees and other.ch-arges as may norv or hereafter be requirrd by rcgulations of
               and pay or.reimburse Lender for all of Lender's fees, costs,.and e-xpenses    in connbdion   withlny full or
       partial release or subordination of this instrum€nt or any other transaction offeaine the sropertv,
            5. Hazard or Property lnsurance. Bonower sh'all keep tlre improvemcnrinow'existini or hereaftererected
      on the Property insured.against loss by fire, hazards included within'thc lerm "extended covErage" and any other
      hazarcls, including floods or flooding, for which Lender requircs insurance. This insurance shalibe maintained iu
      the amounE and for the periods that Lender requires. The insurer providing the insurance shall be chosen by
       Borrorver subject to Lender's approval which shhtl not be unrcasona6ly withh-eld. lf Bonower fails to maintaiir
      coverage described above, at Lender's option Lender may obtain coverage to prot€ct Lender's rights in the Property
      pursuant to paragraph 7.
            All insurancc policies and renewals shall be in a form acceptable tq Lender and shall include a standard
      mongage€ clause. Lender shall,have the right to hold the policies aid renewals, lf Lender requircs, Borrower shall
      promptly give to Lende r all receipts of paid premiums and renewal nolices, ln the event ol losi, Borrower shall give
      prompt notice to the insurance carrier and Lender. Lender may make proof of loss if not made promptl/ by
      Borrower.
            Unless Lcnder and Bororver otherwise *gret in writing, insurance proceeds shall be applied to rcsloralion or
      gpair of th!- qroperty damaged, if [hs restoration or repair is economiiully fensible and Ldndels securiry is not
      lessened. If the restoralion or.repair is nol ecoromically fcosible or Lender's security would be lesseied. the
      insurance proceeds shall be appligq to the sums secured by this Sccurity lnstrument, whether or not thcn duc, rvith
      any. excess paid 1o Borrower. lf Bonower abandons the Property, or does not an$wer within thirty (30) tiays a
      notice from Lender that the insurance carrier has offered to sc$le a claim, tlren Lender may collect-the irrsurince
      procceds. Lender may use.thc proceeds t9 rcpqir or_rcstore tfre Property or to pay sums sicured by this Security
      lRstrument, whether or nol then due, The thifiy (10) day period will begin when the notice is givcn.
            Unless Lendcr and Borrowcr odrerwise agrec in writing, any application of proceeds-to principul shall not
      extend or postpone the duc date of tlrc monthly payments referred lo in paragraphs l- and 2 or change the amount of
      thc payments. If aftcr occeleration the Property is acquired by Lender, Boiroweds right to any inlurance policies
      nnd proceeds resulting fronr damage to the Property.prior to the acquisition shall pass tb Lender to the extenr ofrhe
      sums secured by this Se curity Instrunrent irnmediately prior to the acquisition,
            6. Preservation, Maintenance, end Protection sf the Property; Eorrower's Loan Applic*tlon;
       Lcaseholds, Borrower shall not des8oy, damage or impair the Property, allow thc Properry to deteriorate, or
       commitwastcontheProperty. Borrowershall maintaintheimprovementsingoodrcpairandmakereprirsrequircd
       by Lender. Borrowcr shall comply with all laws, ordinanceg and regulations afTectin! rhe Propery. dorrowei slrall
       be in default if any forteiturc action or proceeding, whether civil or criminal, is begun that in Lender's good faith
      judgment could result in forfeirure of the Properiy or otherwise materially inrpoir tlic lien created by this Security
       lnstrument or Lender's security interest. Borrorver may cure such a default by causing the aclion or proceeding to
       bc dismissed with a ruling thai, in Lender's good faith tetermination, precludes forfeitire of thc Bsndwels inte;e$t
       in the Property or otlter materisl impairment of thc lien crcated by ihis Security ln$trument or Lender's security
       interest. Borrowershall alsobeindefaultifBonower,duringtheloanapplicationprocess,gavemateriallyfalseor
      inaccurate infarmation or statcmenti to Lender (or failed to provide Li:nder with any mlterial inforrriation) in
      conneclion with thc loan evidenccd by thc Note. lf this Security lnstrument is on a-lensehold, Bonower shall
      comply with all the provisions of the lease. lf Bonowcracquires fee title to rhe Property, the leasehold and the fee
      title shall not merg€ unless Lender agrees to the merger in writing.
          7.    Protection    of Lender's Rights in the Property. If Borrorver lails to perform the covenanls and
      agreernents contained    in this Security lnstrument, or there is a legal proceeding tliat may significantly affect
      Lende/s rights in the Property (such as a proceeding in bankruptcy, probatc, for condemnation or forfeitur! or to
      cnlorce laws or regulations), then Lender may do ond pay lor rvhatcver is ncccssary to protect the value of lhe
      Property und Lender's rights in thc Property. Lcnder's actions may include paying any sums secured by a lien which
      has priority over this Security lnstrument, appeoring in court, paying reasonable auomeys' fees and entcring on the
      Property to make repairs. Although Lender may take action under this paragraph 7, Lender is not required to do so.
            Any amounts disbursed by Lender under this paragraph 7 shall become additional debt ofBorrower secured by
      th is Security lnstrument Unless Bonower and Lendtr agrce to oih6r term$ of payment, thcss amounts shall bsar
      interest from the date of disbursement at the Note rate and shall be payable, with interest, upon notice from Lender
      to Borrower requesting payment.
           8. Refinanclng. lf at any time it shall appcar to Lender that Borrower may be able to obtain a loan from a
      responsible cooperative or private crcdit sourcs, at reasonflble ratcs and ternrs for loans for similar purposes,
      Borrorycr will, upon the Lender's requesl, apply tbr and accepl such loan in sufficient amounl to pay the flote and
      any indebtedness secured hereby in full.
           9. fnspce tion. Lendcr or its agent tnay rnake rsasornbls entries upon and inspections of the Property. Lendcr
      shal! give BorrowEr notice at the time of or prior to an inspection specifying rcasonable causc for thc inspection"
           10. Condamlxtlon. The proceecls of anyaward orclnim fordamages, direct orconsequcntial, in csnnection
      with any condentnation or olher taking of uny pnrt of tlre Propeny, or for conveyance in lieu of condcmnation, are
      hercby assigncd and sholl be paid to Lender, ln the cv6nt of a total takiry of the Property. the proce eds shall be


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                                                                                                                  q/4
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      applied to the sums secured by this Security Instrument, whether qr not then due, with any excess oaid to Borroivcr.
       In the event of a partial taking of the Property in which thc fair rnarket value of rilc Prope-rty immeiiately bsfore the
      taking is equal to or greater than thc amount of the sums sccured by this Security lnstruheit immediately before the
      taking, unless Borrower and Lender othenrise agree in writing, the sutns secuied by this Security lnstrument shall
      be reduced by the amount of tlre procceds multiplied by the following fractiou: (ri) the total amounr of the sums
      securcd immediately before the taking, divided by (b) the fair nrarket value of rhe Propcny immediotely before the
      taking. Any balance shall be paid to Bonower. In the everrt of a panial takinq of rlic Pioperty in wliich rhe fair
      tnarket value of the Property immediately before the taking is less thon the rmounr of drri suins secured hercby
      immediatcly before lhe laking, unless Borrower and Lender otherwisc ngree in writing or unless aprlictble larv
      otherwise provides, thc proceeds shall be applied to the sums secured by this Security lnsrrumcnr wheth-er or nor rhe
      sums are then due.
            lf the Property is abandoned by Borrower, or if, after notice by Lender to Borrower that the condemnor offers
       to make an award or settle a clsim for.damages, Borrowcr fails to respond to Lender within thiny (30) days after thc
       date tlre notice ir given, Lender is authorized to collect and apply the proceeds, at its option, cithei 16 reirorarion or
       repair of lhe Prop€.rty or to the sums securcd by this Sccurity lnstrument, whetlrer or riot then due. Unless Lender
       ond Bonower othenvise ogrec in rvriting,.any application of proceeds to principal shall nol extend or postpone the
       due date o[the monthly pnyments refened to-in phragraphs I ind 2 or chairgc th'c amount of such paymints.
            I.
            I     Borrower Not Released; ForbearRnce By Lender Not a Wniver. Extension of the time for paymenl or
       mcdificnlion of amortization of the sums sccured 5y this $ccurity lnstrument granred by Lender to Bo'n{wer and
      flrly succcssor_ir interest of Bonorver shall not operlte to relcflse the liability of ihe origin-al Bonower sr Borrowe/s
      $ucces$or$ in interest" Lender shall not be required to cornmence proceedings ngain* any ficce$sor in ifilprcsr or
      refuse to extend time for payment or otherwisc modily amortization of the sums secured by thi* Securiry lnstrument
      by reason of any.demand m.ade by the original Borroweror Borrowey's $uccessor$ in intercst. Any forbearance by           '
       Lender in exercising any right or remedy shall not be a waiver ofor preclude the excrcise ofany right or remcdy.
            I2. Successors and Assigns Bound; Joint and Severnl Liobility; Co-slgners. The covenanis and agreenrenrs
      of this Security tnstrument shail bind and benefit the succe$sor$ and rixigns rjlLender ond Bonower, subject to the
      provisions of paragraph 16, Bonowerrs covenants and agreaments shall be joint and several. Any Bonbwer who
      co-signs this Security Instrument but does not execute th€ Note: (a) is co-signing this Security Initrumcnt only to
      mortgage, grant and convey that Borrower's interest in the Property under rhe terms of this Security Instrument j1b)
      is not personally obligated to pay the sutns secured by this Security lnstrumont; and (c) agrees thai Lender and any
      other Bonower may agr€c-to extend, modiff, forbear or make any accommotlatirn* rvith iagard to the terms of this
      Security lnstrument or the Note without that Bonower's consent.
            13. Notice.s.,Any notice to Borrower provided for in this Security Instrument shall be given by delivering it or
            railineitbyfirstclassmail
      by mailing                           unless applic*blc law requires use cf
                    it by first class mail unlessapplicablclawrequiresusecfauothermethod.             The noticeshall bediiected
      to the Property
               Properry Address or or.any
                                      any other addrsss  Eonowerdesignnles by notice to Lender. Any notice to Lender shall
                                                aldrqs.s Eonower
      be gi.ren by first class mail to Lender's address stated horein or any othcr address Lender designates     es by norice to
      Borrower. Any notice otice provided for in ihis Security lnstrurnent lhall
                                                                           rhall be deemed ro have been given to Borrower or
      Lender rvhen given as provided in this paragraph.
            14, Goyernlng LBw; Scverability. This Securiiy lnstrument slrall be governed by federal law. In the event
      that any provirion or clause o[ this Security Instrumert or the Note conflicts with applicable law, such conflict shrll
      not atTect other provisions of this Security Instrument or the Note which can bc givtin effect without thc conflicting
      provision, To this end the provisions of lhis Security Instrument and the Note are declnrcd to bc severablc. Thii
      instrument shall be subjectto the present regulntions of Lendrr, and to its future regulations not inconsistentwith
      ttre express provisions hercof. All pow€rs and agencies granted in this instrument are coupled with an interest and
      are irrevocablo by dcath or otherwise; and the rights and rcmedics providcd in this inslrument are cumulativc to
      remedies provided by law.
          15, Borrower's Copy.         Borrower acknowlcdges receipt of one confornred copy of the Note and of this
      Security lnstrument.
            t6. Trnngfrr of the Properly or a Beneflclal Inlercst ir Borrowcr, lfall or any pan of the Property or any
      interest in it is lessed for a term greater than three (3) years, leased with an option to puichose, sold, or transferred
      (or if a beneficial intcrest in Borower is sold or transferred and Bonower is nol a natural person) without Lendcrrs
      prior written consent, Lsudqr moy, at its option, rcqrirc imrtediate pilymrnt in full of all sums secursd by this
      Security Instrument.
            17. Nondiscrimination. If Borrower intends to sell or rent tlre Property or any part of it and has obtainod
      Lender's consent to do so (a) neither Bororver nor anyone uulhorized lo act for Borrower, rvill refuse to negotiale
      for thc sale or rental of the Property or will othenvise mako unovailablc or deny the Property to anyons bccause of
      racer color. religion, sex, nntional origin, handicap, nge. or farnilial status. and (b) Borrower recognizes as illegal
      and hereby disclaims and will not comply with or attempt to enlorce any restrictive covenBnts on drvelling relaling
      ro race, color, religion, sex, natioral origin, lrandictp, agc or familial strtus.
           18. $nls of Nolei Chlnge of Lorn Scrvieer, The Note or a partial inlsresl in the Note {togcthsr with thir
      Security lnstrument) may be sold one or more tirncs without prior notice to Borrower. A sale may rcsult in a change
      in the entity (known nr tlre ''Loan Scrvicer") that collects rnonthly p$ymenrs due under the Note and this Security


                                                                                                                    Page 4   of6
Case 4:18-cv-00138-JHM-HBB Document 1-3 Filed 08/27/18 Page 5 of 7 PageID #: 14




                     ?tr
      Instrument. There also may be one or more changes of the Loan Servicer unrelated to a sale of the Note, If there is
      a.change of the-.Lo.an Servicer, Borrower _will be g.iven written noticc of the change in accordonce with paragraph I 3
      above and applicable law, The notice will state the name and addrcss of the new Loan Seryice r *nd the aidrass to
      which payments should be made.
           19, Uniform Fcdtral Non-Judicial Foretlosurc, If a uniform federal non-judicial forsclosure law applicable
      to foreclosure of tltis sccurity instrument is enact*d, Lender shall have the oplion to forcclose this instririnent in
      accordance with such federal procedure.
           20, Hazardous Substances. Borrower shall not cause or permit the presencei use, disposal, storags' or rcl*r*e
      of any hazardous substances on or in the Property. The preceding sentence shall not appty to the presenco, use, or
      slorage on the Propcrty ofsmall quantities ofhazardous substances that arc gcnerally rdcognieed io be appropriate
      to uornral residential uses and to nraintenance of the Property. Bonorvcr slrall not do, nor allow anyone i[se io do,
      anything affecting the Properry that is in violation of any f*dral, $tate, or local environrnenral law oi regulation.
           Bonower shall promptly give Lender written notice of any investigation, clairn, demand, lswsuit oi othu oclion
      by ony governmental or regulatory aBency or private party involving the Property and any hazardous substancc or
      environnrental laworregulutionofwhichBorrowerltas.actual knowiedge. lfBorrorverlearns,orisnotifiedbyany
      governmental or regulotory Buthority, tlrat any removal or other remediation of any hazardous substance affecting
      the Propeny is necessary, Borrower shall promptly lnkc sll ncccssary remedial actions in nccorduncc with applicable
      cnvironmental law and regulations.
           As used in this paragraph "hazardous substances" are those substances defined as toxic or hazardous substances
      by environmcntal law and thc following substances: gasoline, kerosene, other flammable or toxic petroleum
      products, toxic pesticides and herbicides, volatilc solvents, materials containing asbestos or formaldelryde, aud
      radioactive m*lcrialr. As used in this partgraph, "environmcntul larv" mrans fedcral larvs and regulatione snd laws
      and rcgulations of tlre jurisdictian where the Property is located that rslate to health, mfety-or cnvironmcnlal
      protection.
           2I. Cross Collnter*lizstion. Default hereunder shall constitute default under any other rral ettate security
      instrument hcld by Lender and exe$uted or assumed by Bnrrower, and default und6r any othqr such securii
      instrument shall constitute default hereunder.

          NON'UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows:
          22, SHOULD DEFAULT occur in the performance or discharge of any obligation in this instrument or
      secured by this instrument, or should any one of the panies namcd as Borower die or be declared 0n itlcompetent,
      or should any one of the pa*ies named as Borrower be discharyed in bankruptcy or declared an insolvenl, or make
      an assignment for the bencfit of creditors, Lender, at its option, with or without notice, may: (a) declare the entire
      amouniunpaid under the note and any indebtedness to Lender herehy secured immediately due and payable, (b) lor
      the account of Bonower incur arrd pay reasonable expcnses for repair or maintcrancc of and lake posscssion o(
      operate or rent thc Propcrty, (ci upon application by it and productioir of this instrurnent, without sther evidence and
      without notice of hearing of said application. havc a receiver appointed for the Propcrty, with the usual powers of
      rcceivers in like cases, (d) forcclose this inslrument as provided herein or by luw, nnd (e) enforce any and all other
      righc and remedies provided herein or by present or l'uture larv.
           23. Thc proceeds of fbreclosure sale shall be applied in the following order to the payrnent ol: (a) costs and
      espenses incident to enforciug or complying with the provisions hereol 0) any prior liens required by larv or n
      compstent court to be so paid, (c) the debt evidenced by the note and all indebtedness to Lender secured hercby,
      (d) inferior liens of record required by larv or I competcnt court to be so paid, (e) ut Lcnder's option, any othcr
      indcblcdncss of Bsrrower owing to Lender, and (0 any bllance to Bonower. At forerlosurc or othsr sale of sll or
      any pan of the Propeny, Lender and its agents may bid and purchase as a stranger and may pay Lendcr's share of
      the purchase price by crediling such arnount on any debts of Borrorver owing to Lender, in the order prescribed
      above.
            24. .Borrower agrees that Lender wiil not be bound by any present or future state laws, (a) providing for
      valuation, appraisal, homestead or exemption of the Property, (b) prohibiting rnaintenance of an action for a
      del'iciency judgmcnt or lirnitinq the.amount thereof or the timc rvithin rvhich such ilction may be brought, {c)
      prescribing-any other stntute of lintitations, (d) allowing any right of redemption or possession following any
      foreclosure sal€, or (e) lirniting the conditions wlrich Lender may by regulotion irnpose, including the interest rate it
      may charge, qs a condition of approving a transfcr of the Property to a new Bonower. Borrower expressly waives
      the benefit of any such state law. Bonower hereby relinquishes, rvaives, and convrys qll rightsr irrchoate or
      consummate, of descenln dpwer, and curl$y,
            25. Release. Uporltenninationofthismortgageia{lerpaymentinfull,themongageqctBonqwer'sexpense,
      shall execute and file or record such instruments ofreleare, satisfaction and terminrtion in proper form pursuanl to
      the requirements contained in KRS 382.365
            26, Riders to thls Sceurity lnstrume[t. lf one or more riders are executed by Borrower and recorded
      together with this Security lnstrument, the covenants and agreements of each rider shall be incorporated into and




                                                                                                                   Page 5   of   6
Case 4:18-cv-00138-JHM-HBB Document 1-3 Filed 08/27/18 Page 6 of 7 PageID #: 15




      shall amend and suppl-emcnt thc cov€rants and agreements  ofthis
                                                          rents of this Security
                                                                        security lu6trument as if the ridcr(s) wcre                 a
      security lnstrumcnt. [chcck applicable      box]                                                                              ^'ffi
            E   Condominium   Rider          E   Planned Unit Development     Rider           E   Other(s) [spcciff]

           BY SIGNING BELOW, Borower accepts and agrecs lb the terms and covenants contained in pages                           I   through 6    of
      this Security lnshument and in any rider executed by Borrower and recorded with this Secugty lnstrument

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                                                                              TIIiB M.         JO{ES
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      srATE oF      KENTUCKY                           ) ) ss:                             ACKNOWLEDGMENT
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      foregoing instrument        -) 29th
                             on the                   day   of        lhY                             2003 a| rs
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                                                                                                                                          free act
      and deed.

            WITNESS my hand and official seal this             ?9tr     auyot

      [sE4L]

                                                                                                              expires          5t2312004

                                                      PREPARER'S
      The form of this instrumcnt was drated by the Ofiice of the                                     Urited States Department of
      Agriculture, and the material in the blank spaces in tho form                                    thc direction of,

      Pam   6rbln
                                    (Name)                                                                                 (Signaturc)

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                                    (Address)
                                                    RECORDER'S CERTIF'ICATE

      STATEOFKENTUCKY                                  I
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      foregoing rnortgaga was              9                   day   of ,1            #;_-_&l     zq4i
      lodged for   record        at!ffidi*/u                ,rvhcreupon the           wlth thc fcregolng nnd this cerlificate, have beeo
      duly recorded in my office.
           Given undcr my hand      thi, -Z 2                    aayor   frat                     -   ,Zqtz
                                                                              r' R.
                                                                                                                                    Page 6   of 6
Case 4:18-cv-00138-JHM-HBB Document 1-3 Filed 08/27/18 Page 7 of 7 PageID #: 16




                         2o
          Belng all of Lot No. 5A of the subdlvlelon to the Clty of Madisonvllle,
          Hopklns Gounty, Kentucky, ae shown on the plat of the Wayne
          Larkins Survey of record in Plat Book 5, page 6, (Sllde 194) in the
          Hopklns County Court Clerk's Offlce, to whlch reference is hereby
          made.

          The property hereln conveyed ls subject to the protective covenants
          and restrlctions relating to the Wayne Larklns propertier as set forth
          in lnstruments of record ln Deed Book 398, page 119 Deed Book 406,
          page 668 and Deed Book 428, page 258 Hopklns Gounty Gourt
          Glerk's Office.

          Being the same property conveyed to Tlna Jones by a deed of
          conveyance from Herman Baker and hls wife, Denise BEkgr dated
          May 2-9, 2003 and of record tn Deed Book Q,2, page ry_ tn the
          offlce of the Hopklns County Court Clsrk.




                                 STATEOFKENTUCI(Y   \c^
                                 COUNWOF HOPKINS    -'-
Case 4:18-cv-00138-JHM-HBB Document 1-4 Filed 08/27/18 Page 1 of 1 PageID #: 17




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                                                         SIIBSIDY REPAYMENT AGNEEMEI\rT

         l.  Ac rtquired under &c(ioo 521 of tbe Housing Act ol 1949 142 U,S.C. 1490a), subsldy rccelved ia rccordence wirh Sectiotr
         502 of the llouring Act of 1949' lc rcpeyeble ro $c Govsmtncnt upon thc disporitioa or loaocluprnsy oftic rcctrity p(opcrty.
         Deffi    ilDngrgc pryrnentr arc lncluded ar subsldy rmdlr tlrtr lgrlcuLot.
         2. When I frll to occupy or trlasfer titlc to my home, recrpture is iluc. If I reflngtrcr
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        tltle and continue to occltry thc propcrty, thc uooultt of tssPEtlc s,ill bc calfllated bu, psyrEt of rEcqtur€ can bc dc&rrcd,
        intemt frec, untll the propcny L rubrcqucatly rold or v&rlted. If .tcfercd, lhe Governman rDrtgrgc csn bo rubodiaetcd but vifl
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        rngrkea value rs deanained by dividlng originel cqulty by the mertet value.


        4.   If all lorns rre nol tubjcct to rerptute, or if all loau subjcct to rccspturc rre not behg prid. corybte rho following fonaute.
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Case 4:18-cv-00138-JHM-HBB Document 1-5 Filed 08/27/18 Page 1 of 1 PageID #: 18




                                                          Commonwcalth of Kcntucky

              BooK    Uk         raeE A'1.9
                                                            Hopkins District Court
                                                         Madisonville KY 42431
                                                          Civil ActionNo. 06-C-1463


                    Trover Clinic                                                                                  PLAINTIFF,

                    vs.                                NOTICE OTJUDCMENT LIEN

                    Tina Jones                                                                                   DEFENDANT.
                    SSN: )OO(-X]K-rsz?

                                     Notice is hereby given thal. on    ttrJs   Eday            of April, 2007, Plaintiff

                    asserts a   lien upon all real estat€ in which the Defendant has any ownership interest. A

                    final Judgment was entcred aSsinst tho Defendant in this sctioo upon which there is

                    owing the amount of 0851.50, with interest thereon          rt   the rats   of   l2o/o per aanum from

                    Fcbruary 6,2007 ,   uilil   paid, together with Plaintiffs court costs expended.

                                     NOTICE TO JUDGMENT DEBTORT You rDay be entitled to an

                    exemption under K.B,S, 427,060, reprinted below.                       If    you believe you are

                    entitled to aseert an exemption eeek legal advice.

                            In addition to any exemption ofpereonal property, an individual
                            debtor'e aggregate interest, not to exeeed $6,000.00 in value, in
                            real or personal property that euch debtor or a dependent of
                            such debtor useg aB a permanent residence in this state, or in a
        8l                  burial plot for such debtor or a dependent of such debtor is
        MI
        -t                  exempt ftom eale under execution, attachment or judgment,
                            oxcapt to forecloge a mortgage given by the owner of a
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         lu                 homesteod or for purchase money due thercon. Thie exemption
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          TL                ehall not apply if the debt or liability exietod prior to the
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Case 4:18-cv-00138-JHM-HBB Document 1-6 Filed 08/27/18 Page 1 of 2 PageID #: 19




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                                                                                       HOPKINS CIRCUIT COURT
      NO.l1cl40203                                                                                               DTVISION

                                                                                                                PLAINTFF
      ASSETACCEPTANCE LLC


      vs,                                         Honcpor JUIlCWilrI,l$ry
                                                                                                              DEFENDANT
      TINA M, JONES                                          *lltil**
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       P,O. Box 23200                                               P.O. Box 23200
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Case 4:18-cv-00138-JHM-HBB Document 1-6 Filed 08/27/18 Page 2 of 2 PageID #: 20




                              I ce*i$ that I mailed a copy of the foregoing Notice of Judgmcnt Lien, by
                                                                                                            9tt
              regular first class mail, postago prcpaid, to the Defendant at his/trer last known address:

              Tina Jones, 216 Hopewell, Madisonvillc KY 4243 t I on thc date above written.

                     THIS COMMT'NICATTON IS TROM A DEBT COLLECTOR ANI)
                     Is AN        ATTEMPT TO COLLECT            A DEBT, AND AI\IY
                     INTORMATION OBTAINED                 WILL Bf USEI} NOR TIIAT
                     PURPOSE.

                                                           PREPARED BY:




                                                           Altomcy for

                                                           Madisonvillc, KY 42431
                                                            Q7q82t-1445

                     red     by




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              LOGAN,                & RArtlrr
              PO   Box   4
              MadisonvilIe, KY            42437
Case 4:18-cv-00138-JHM-HBB Document 1-7 Filed 08/27/18 Page 1 of 1 PageID #: 21




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      for paynent remaln unPatd'

      TINA IvIARIE JONES

      1456 TUCKM. SCHOOLHOUSE RD
      MADISONVIII.E, ICY 4243 I-8809



      Rrsuant (o tle provt$tons of Xenrucky Revlsed $tntutes 131.515, a lien €rdgte ln fswr of the
      lo*mon*uultn of Xennrcky upon &ll ihe debtot's intsrest ln property, elther real or persolul
      tangiUte or irrtart$ble, nowbvrhed or subsequently acqulred"


      CASE NLJMBER: 2000000289251

      TIN: )frX-XX-8074
      TIN:

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       4S2r Fxt, s354,


                  Comrnonrnealth of Kennrcky, DeparEent of Revenue, OfWSION OF COLIJCfiONS

                               CLERK'S RECORD OF FILING,OF COMMOTiIWEAIT}TS UEN

       I certify rhar rhls lien is flled tu tbE HoPKII{S county clelk's offlce:


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       Date             Time               Deputy Oerk

       Locator No.                       Courty of Becoril   HOPKINS
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